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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


Gamada A. Hussein,                                         Case No. 21-mc-0064 (WMW)

                           Plaintiff,
                                                                ORDER
      v.

Merrick Garland et al.,

                           Defendants.


       Before the Court is Plaintiff Gamada A. Hussein’s application to proceed in forma

pauperis (IFP) on appeal from the Court’s denial of authorization to proceed in this

matter. 1 (Dkt. 5.) In denying Hussein’s request for authorization, this Court expressly

found that an appeal of the denial could not be taken in good faith and that any request to

proceed IFP on appeal would be denied accordingly. The Court remains satisfied that

this is true and denies Hussein’s appellate IFP application on that basis. Hussein’s

pending motion to expedite consideration of the IFP application is denied as moot.

       Based on the foregoing analysis and all the files, records and proceedings herein,

IT IS HEREBY ORDERED:

       1.     Plaintiff Gamada A. Hussein’s application to proceed in forma pauperis on

appeal, (Dkt. 5), is DENIED.



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       Due to prior vexatious conduct, Hussein is restricted from filing new cases in this
District unless he is represented by counsel or receives advance authorization to proceed
from a judicial officer of this District. See Gamada v. Whitaker, No. 19-cv-0292
(JRT/HB), Dkt. 37 (D. Minn. Sept. 18, 2019).
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      2.     Plaintiff Gamada A. Hussein’s motion to expedite consideration of his in

forma pauperis application, (Dkt. 6), is DENIED AS MOOT.


Dated: December 3, 2021                             s/Wilhelmina M. Wright
                                                    Wilhelmina M. Wright
                                                    United States District Judge




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